Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 1 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 2 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 3 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 4 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 5 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 6 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 7 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 8 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 9 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 10 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 11 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 12 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 13 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 14 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 15 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 16 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 17 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 18 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 19 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 20 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 21 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 22 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 23 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 24 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 25 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 26 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 27 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 28 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 29 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 30 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 31 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 32 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 33 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 34 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 35 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 36 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 37 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 38 of
                                     39
Case No. 1:08-cv-01745-WYD-MEH Document 1-3 filed 08/15/08 USDC Colorado pg 39 of
                                     39
